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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

NOVEDEA SYSTEMS, INC. and                      §
ANAND DASARI                                   §
    Plaintiffs,                                §     CIVIL ACTION NO.: 6:20-cv-180-JDK
                                               §
v.                                             §
                                               §
COLABERRY, INC. and                            §
RAM KATAMARAJA                                 §     JURY TRIAL DEMANDED
     Defendants.                               §
                                               §



      RAM KATAMARAJA’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                   AGAINST NOVEDEA SYSTEMS, INC.
       FOR LACK OF AUTHORITY TO FILE AND PROSECUTE THIS CASE

              FILED UNDER SEAL - PURSUANT TO PROTECTIVE ORDER1


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1 Pursuant to the Protective Order previously entered in this case, Defendants are filing the
instant motion and its exhibits under seal because the contents contain sensitive financial
information that has been designated confidential, highly confidential and/or attorneys’ eyes
only. Dkt. 38.
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       I.      INTRODUCTION AND STATEMENT OF ISSUES TO BE DECIDED

This motion presents the Court with a single issue to decide:2

       Under Texas law, the board of directors, not the shareholders, of a Texas
       corporation exercises all the powers of the corporation. Novedea is a Texas
       corporation. Dasari is a Novedea shareholder and former officer but has never
       been a director. Without board approval, Dasari engaged attorneys on
       Novedea’s behalf and directed them to file this lawsuit. Does Dasari, as a
       shareholder, have the authority to file this lawsuit in Novedea’s name?

This is not a close question.

       Under the Texas Business and Organizations Code, Katamaraja, as Novedea’s sole

director, is the only individual who may direct the management of Novedea’s business and affairs.3

Thus, only Katamaraja may authorize Novedea to file a lawsuit. And Katamaraja has previously

exercised that authority by having Novedea file the co-pending lawsuit against Dasari in the 471st

Judicial District in Collin County.

       Nevertheless, Dasari engaged attorneys on Novedea’s behalf and directed them to file this

lawsuit without either Katamaraja’s or the Board’s approval. Dasari is a Novedea shareholder and

former officer of Novedea but neither of those roles gives him the power to bring a suit in

Novedea’s name.

       Accordingly, the Court should dismiss Novedea’s claims against all Defendants because

Novedea’s board of directors neither authorized this lawsuit nor wish to continue it.



2 This Motion is based on Plaintiffs’ First Amended Complaint. Dkt. 18. Defendants understand
that Novedea’s claims remain live, notwithstanding the pending motion for leave to amend. Dkt.
62 at 2 (and pending complaint filed as Dkt. 63). But if leave is granted by the Court, the
verbatim Novedea claims are still at issue here and ripe for the Court’s decision.
3TEX. BUS. ORGS. CODE ANN. § 21.401 (“[T]he board of directors of a corporation
shall:(1) exercise or authorize the exercise of the powers of the corporation; and (2) direct the
management of the business and affairs of the corporation.”)

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B. Dasari engaged attorneys on Novedea’s behalf and directed them to file this lawsuit.

          26. Shortly before April 6, 2020, Dasari engaged Ryan Botkin and John D. Saba, Jr. on

Novedea’s behalf and directed them to file this lawsuit.

          27. Katamaraja was not consulted and did not approve the engagement of Ryan Botkin

and John D. Saba, Jr. on Novedea’s behalf. 28

          28. Katamaraja was not consulted and did not approve the filing of this lawsuit on

Novedea’s behalf.29

          29. Dasari did not seek or receive the approval of Novedea’s Board of Directors before

hiring Ryan Botkin and John D. Saba, Jr. to represent Novedea.30

          30. Dasari did not seek or receive the approval of Novedea’s Board of Directors before

directing Ryan Botkin and John D. Saba, Jr. to file this lawsuit on Novedea’s behalf. 31

          31. Katamaraja was not consulted and did not approve the engagement of Gene Hamm II,

John P. Martin, and The Hamm Firm on Novedea’s behalf. 32

          32. Dasari did not seek or receive the approval of Novedea’s board of directors before he

hired Gene Hamm II, John P. Martin, and The Hamm Firm to represent Novedea. 33

          33. Dasari is currently controlling Novedea’s prosecution of this lawsuit.

          34. Novedea’s board of directors does not wish to continue to pursue any of its asserted

claims in this lawsuit.34


28
     Id. at ¶ 10.
29   Id. at ¶ 12.
30   Id. at ¶ 13.
31   Id. at ¶ 14.
32   Id. at ¶ 16.
33
     Id. at ¶ 18.
34   See Katamaraja Aff., Ex. R.

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                                        III.    ARGUMENT

          Novedea is a for-profit corporation that is managed by its Board of Directors. Since 2012,

Katamaraja has been Novedea’s sole Director. Therefore, Katamaraja is the only person with the

authority to have Novedea file and prosecute this lawsuit. Under Texas law, Dasari, a mere

shareholder, unequivocally lacks the authority to authorize Novedea to file this lawsuit.

A. The Court must dismiss all of Novedea’s claims because Dasari lacked authority to
      direct Novedea to file this lawsuit and lacks authority to control Novedea’s
      prosecution of this case.

          As a shareholder, Dasari lacked the authority to have Novedea file this lawsuit and lacks

the authority to control Novedea’s prosecution of this case. It is black letter law that a Texas

“corporation's board of directors, not its shareholders, ‘exercise[s] or authorize[s] the exercise of

the powers of the corporation’ and ‘direct[s] the management of the business and affairs of the

corporation.’”35

          Novedea’s Articles of Incorporation set the size of its board of directors to be one. 36 And

on February 27, 2012, Novedea’s Articles of Incorporation were amended to name Mr. Katamaraja

as the company’s only director.37

          And Mr. Katamaraja remains Novedea’s sole director because no other director has ever

been elected and qualified. 38 Under Texas law, a director’s term “extends from the date the director




35Hanmi Fin. Corp. v. SWNB Bancorp, Inc., No. 4:18-3546, 2019 WL 937195, at *14 (S.D. Tex.
Feb. 26, 2019) (citing TEX. BUS. ORG. CODE ANN. § 21.401(a)) (emphasis added).
36See Katamaraja Aff., Ex. A (Novedea’s Articles of Incorporation); TEX. BUS. ORG. CODE §
21.403 (“[T]he number of directors shall be set by, or in the manner provided by, the certificate
of formation.”). “Certificate of formation” and “articles of incorporation” are considered
synonymous terms by the Texas Business and Organizations Code. TEX. BUS. ORG. CODE ANN. §
1.006(1).
37
     See Katamaraja Aff., Ex. I at 2.
38   TEX. BUS. ORG. CODE § 21.407.

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is elected and qualified or named in the corporation's certificate of formation until the next annual

meeting of shareholders and until the director's successor is elected and qualified.”39

          This fact is reflected in every one of Novedea’s Texas Franchise Tax Public Information

Reports that it filed from 2012 to the present because they all identify Katamaraja as Novedea’s

only director.40 Therefore, as Novedea’s only director, only Katamaraja has power to exercise the

powers of the corporation and direct the management of Novedea’s business and affairs,41 which

means that only Katamaraja has the authority to authorize and control this lawsuit.

          By contrast, Dasari has never been elected as a director of Novedea. Dasari is a shareholder

and former officer of Novedea, but under Texas law, neither a shareholder nor an officer is entitled

to exercise the powers of a Texas corporation or direct the management of its business and affairs

because those powers are reserved for the board of directors. 42

          Nevertheless, Novedea’s attorneys filed this lawsuit based solely on Dasari’s approval.

This was improper because Dasari neither consulted with nor received the approval of Novedea’s

board of directors. Simply put, the shareholder of a Texas corporation cannot authorize the filing

of a lawsuit on behalf of the corporation. If this were not the case, then anyone could simply buy

a single share of Nike and then start filing lawsuits on Nike’s behalf—an absurd result.



39   TEX. BUS. ORG. CODE § 21.407 (emphasis added).
40
     See Katamaraja Aff., Exs. J, K, L, M, N, O, P, Q.
41
     TEX. BUS. ORG. CODE § 21.401(a).
42TEX. BUS. ORG. CODE § 21.401(a); see also Harrison v. City of San Antonio, 695 S.W.2d 271,
274-75 (Tex. App. 1985); Nolana Open MRI Ctr., Inc. v. Pechero, No. 13-13-00552-CV, 2015
WL 601916, at *9 (Tex. App.—Corpus Christi-Edinburg Feb. 12, 2015, no pet.) (mem. op.);
Square 67 Development Corp. v. Red Oak State Bank, 559 S.W.2d 136, 138 (Tex. Civ. App.
1977); Nanney Chev. v. Evans Moses, 601 S.W.2d 411, 413 (Tex. Civ. App. 1980); Candle
Meadow Homeowners Ass'n v. Jackson, No. 05-17-01227-CV, 2018 WL 6187616 at *6-7 (Tex.
App.—Dallas Nov. 27, 2018); Street Star Designs, LLC v. Gregory, 2011 WL 3925070 at *11-
15 (S.D. Tex. Sept. 7, 2011).

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Accordingly, the Court must dismiss Novedea’s claims because Novedea’s Board of Directors

never authorized the filing of this lawsuit and does not wish to continue it. 43

B. No Additional Discovery is Needed to Resolve this Motion.

       “A party cannot evade summary judgment simply by arguing that additional discovery is

needed” but instead must “explain what discovery [it] did have, why it was inadequate, and what

[it] expected to learn from further discovery.” Rutherford v. Muniz, 280 Fed. Appx. 337, 339 (5th

Cir. 2008); Waterman v. McKinney Indep. Sch. Dist., 2014 U.S. Dist. LEXIS 79269, at *11

(E.D.Tex. Jun. 11, 2014) (quoting Bauer v. Albemarle Corp., 169 F.3d 962, 968 (5th Cir. 1999)

and citing Washington v. Allstate Ins. Co., 901 F.2d 1281, 1284-85 (5th Cir. 1981)).

       As demonstrated above, the instant Motion is based on the corporate filings and records of

Novedea over the relevant time period, which Katamaraja’s affidavit serves to authenticate. They

are the best evidence, speak for themselves, and are entirely consistent on the portions of probative

value to this Motion. Plaintiffs have had ample time to produce any evidence that corporate

elections occurred to alter the Board from the foregoing. See Dkt. 23 at 7-8. No such records exist

because Katamaraja remains the sole director. Accordingly, no amount of additional discovery

will create a genuine issue of material fact here, and partial summary judgment is appropriate.

                                      IV.     CONCLUSION

       It is black letter law that Dasari, as a shareholder of a Texas corporation, lacks authority to

file this lawsuit without authorization. Only Novedea’s Board has the power to authorize a lawsuit

in Novedea’s name. Novedea’s Board of Directors did not authorize the filing of this lawsuit and

does not want to continue to pursue it. Therefore, the Court should dismiss all of Novedea’s claims.




43Katamaraja Aff. at ¶¶ 10-20; see Katamaraja Aff., Ex. R (Written Consent of the Board of
Directors of Novedea).

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Dated: January 27, 2021                       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

I certify that a copy of this pleading was electronically filed with the Clerk of the Court on
January 27, 2021 by using the CM/ECF system which will send a notice of electronic filing to
Filing Users and that each attorney representing the Plaintiff is a filing user. A copy of the
sealed filing was also served on each attorney representing the Plaintiff via electronic mail.

                                                     s/ Rajkumar Vinnakota
                                                     Rajkumar Vinnakota



                        AUTHORIZATION TO FILE UNDER SEAL

Pursuant to the Protective Order previously entered in this case, Defendants are filing the instant
motion and its exhibits under seal because the contents contain sensitive financial information
that has been designated confidential, highly confidential and/or attorneys’ eyes only. Dkt. 38.

                                                     s/ Sean N. Hsu
                                                     Sean N. Hsu




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